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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


DARON DURANE HOWARD, also )
known as Daron Howard-Bey, )
                           )
     Plaintiff,            )
                           )                 CIVIL ACTION NO.
     v.                    )                   2:17cv517-MHT
                           )                        (WO)
WONDA CRAFT, et al.,       )
                           )
     Defendants.           )

                              JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court that:

    (1) The      recommendation        of     the    United      States

Magistrate Judge (doc. no. 21) is adopted.

    (2) This case is dismissed without prejudice, with

no costs taxed.

    (3) All pending motions are denied as moot.

    (4) The     prior     recommendation       (doc.     no.   20)     is

withdrawn.
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    The clerk of the court is DIRECTED to enter this

document   on    the   civil      docket   as    a   final    judgment

pursuant   to   Rule    58   of    the   Federal     Rules   of   Civil

Procedure.

    This case is closed.

    DONE, this the 17th day of October, 2017.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
